         Case 1:18-bk-11919-MB Doc 11 Filed 08/03/18                                Entered 08/03/18 21:40:50                Desc
                             Imaged Certificate of Notice                           Page 1 of 2
                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 18-11919-MB
Juan Rene Mejia                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: kogierC                      Page 1 of 1                          Date Rcvd: Aug 01, 2018
                                      Form ID: deforco                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 03, 2018.
db              Juan Rene Mejia,   13775 Judd Street,   Pacoima, CA 91331-3631

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 03, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 31, 2018 at the address(es) listed below:
              Randolph R Ramirez   on behalf of Debtor Juan Rene Mejia
               randolph.ramirez@yourlegalneeds.net;r49965@notify.bestcase.com
              United States Trustee (SV)   ustpregion16.wh.ecf@usdoj.gov
                                                                                            TOTAL: 2
         Case 1:18-bk-11919-MB Doc 11 Filed 08/03/18                             Entered 08/03/18 21:40:50              Desc
                             Imaged Certificate of Notice                        Page 2 of 2
                                           United States Bankruptcy Court
                                            Central District of California
In re:                                                              CHAPTER NO.:   7
Juan Rene Mejia
                                                                    CASE NO.:   1:18−bk−11919−MB

                          ORDER TO COMPLY WITH BANKRUPTCY RULE 1007
                             AND NOTICE OF INTENT TO DISMISS CASE
To Debtor and Debtor's Attorney of Record,
YOU FAILED TO FILE THE FOLLOWING DOCUMENTS:
Schd A/B(Form106A/B or 206A/B)
Schedule C (Form 106C)
Schedule D (Form 106D or 206D)
Schd E/F(Form106E/F or 206E/F)
Summary(Form 106Sum or 206Sum)
Schedule G (Form 106G or 206G)
Statement (Form 122A−1)
Schedule H (Form 106H or 206H)
Schedule I (Form 106I)
Schedule J (Form 106J)
Decl Re Sched (Form 106Dec)
StmtFinAffairs(Form107 or 207)


The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms

According to Bankruptcy Rule 1007(c), within 14 days after you filed the petition, YOU MUST EITHER:

(1)       File the required documents. If the document is filed electronically, no hard copy need to be submitted to the court.
          (See Local Bankruptcy Rule 5005−2(d) and Court Manual, Appendix "F" as to whether a copy must be served on the
          judge.)
OR
(2)       File and serve a motion for an order extending the time to file the required document(s). If you make such a motion
          and it is denied after the 14 days have expired, your case will be dismissed.

IF YOU DO NOT COMPLY in a timely manner with either of the above alternatives, the court WILL DISMISS YOUR CASE
WITHOUT FURTHER NOTICE.




Dated: July 31, 2018                                                            For the Court
                                                                                Kathleen J. Campbell
                                                                                Clerk of Court




(Form deforco − Rev 01/2018)                                                                                                      1/
